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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

KEVIN BROOKS,

Plaintiff,
Vv. CIVIL ACTION
NO. 19-11119-WGY
MARTHA’ S VINEYARD
TRANSIT AUTHORITY; TRANSIT
CONNECTION, INC.; and
JAMES TAYLOR,

Defendants.

 

YOUNG, D.J. January 2, 2020
MEMORANDUM AND ORDER

The present motions for summary judgment raise, among other
matters, important questions as to the applicability of several
Massachusetts anti-discrimination statutes to governmental
entities. Scant judicial ink has been spilled addressing
governmental liability under some of these laws. These lacunae
are perhaps understandable for the Massachusetts Equal Rights
Act, passed in 1989, but it is more surprising for the
Massachusetts Public Accommodation Law, first enacted in 1865
and amended many times since. With old and new statutes alike,
the Court strives rightly to interpret and justly to apply the

law.

For the reasons that follow, the Court DENIES the motion of

Martha’s Vineyard Transit Authority for summary judgment as to
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the claims under the Massachusetts Public Accommodation Law
{Count I) and the Massachusetts Equal Rights Act (Count II), but
GRANTS the motion as to the claims under section 1981 (Count
III), negligent infliction of emotional distress (Count V), and
chapter 93A (Count VI). The Court further DENIES the motion of
Transit Connection, Inc. for summary judgment as to Counts I,
II, III, and VI but GRANTS the motion as to Count V.
I. Undisputed Facts and Procedural History

These motions for summary judgment arise from an incident
on Martha’s Vineyard, in which the following facts are
undisputed. On July 11, 2018, Kevin Brooks (“Brooks”) sought to
board a bus in Edgartown, Massachusetts. Concise Statement
Material Facts Pursuant L.R. 56.1 (“Vineyard Transit Auth. SOF”)
q 19, ECF No. 54; Statement Material Facts Def. Transit
Connection Inc. Supp. Mot. Summ. J. (“Transit Connection’s SOF”)
qi 2-3, ECF No. 51. When the Route 13 bus passed without
picking Brooks up on the way to the ferry terminal, he ordered a
ride on Uber, a ride sharing application. Id.; Vineyard Transit
Auth. SOF 7 28. Brooks caught up with the bus and asked the bus
driver, James Taylor (“Taylor”), why the bus passed him. Id.
q 40; Transit Connection’s SOF 4110. During a brief back-and-
forth, Taylor first responded “I don’t know,” then stated “I was
full,” which led to a dispute between Brooks and Taylor as to

whether the bus was full. Id. IW 13-14; Vineyard Transit Auth.

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SOF 47 41-45. Taylor then said “[wjell, it’s because you’re
black,” and the two continued to debate whether the bus was
full. Transit Connection’s SOF { 14; Vineyard Transit Auth. SOF
71 46. The interaction was captured on video, a portion of which
has been provided to the Court. Id., Ex. 5, BUS-WATCH Software
Brooks v. Martha’s Vineyard Regional Transit Auth. (CD-ROM, 11,
Jul. 2018), ECF No. 54-5. Two days after the incident, on July
13, 2018, Taylor was fired by Transit Connection. Transit
Connection’s SOF 7 15.

Brooks claims that he “felt utter shock and disbelief” and
began to cry. Vineyard Transit Auth. SOF 99%] 53-55. Brooks
states that he has since replayed the incident over and over in
his mind. Id. @ 56. Brooks believes the incident “exacerbated
preexisting emotional distress caused by discrimination he has
previously suffered” and asserts he has lost sleep due to the
incident. Id. Q@ 57-58.

On May 15, 2019, Brooks filed a complaint in this Court
against Martha’s Vineyard Transit Authority (“Vineyard Transit
Authority”), Transit Connection, Inc. (“Transit Connection”),
and Taylor (collectively, “Defendants”). Pl.’s Compl. Demand
Jury Trial (“Compl.”), ECF No. 1. Specifically, Brooks asserts
the following counts: (1) Defendants violated the Massachusetts
Public Accommodation Law; (2) Defendants violated the

Massachusetts Equal Rights Act; (3) Defendants violated 42

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U.S.C. § 1981; (4) Taylor is liable for intentional infliction
of emotional distress; (5) Defendants are liable for negligent
infliction of emotional distress; and (6) Vineyard Transit
Authority and Transit Connection violated the Massachusetts
Consumer Protection Act. Compl. FI] 26-55. Brooks is seeking
compensatory, consequential, treble and punitive damages, as
well as costs and attorneys’ fees. Id. 8.

On October 1, 2019, Vineyard Transit Authority and Transit
Connection each moved for summary judgment. Def. Martha’s
Vineyard Transit Auth.’s Mot. Summ. J., ECF No. 49; Mot. Summ.
J. Def. Transit Connection Inc., ECF No. 50. All parties fully
briefed the issues. Mem. Law Def. Transit Connection Inc.
Supp. TCI Mot. Summ. J. (“Transit Connection’s Mem.”), ECF No.
52; Def. Martha’s Vineyard Transit Auth.’s Mem. Law Supp. Mot.
Summ. J. (“Vineyard Transit Authority’s Mem.”), ECF No. 53;
Opp’n. Pl., Kevin Brooks, Def. Martha’s Vineyard Transit Auth.’s
Mot. Summ. J. (“Pl.’s Opp’n Vineyard”), ECF No. 60; Pl.’s Opp’n
Def. Transit Connection Inc.’s Mot. Summ. J (“P1.’s Opp’n
Transit Connection”), ECF No. 62; Def. Marthas Vineyard Transit
Auth.’s Reply Mem. Supp. Mot. Summ. J. (“Vineyard Transit
Authority’s Reply”), ECF No. 67. The Court heard argument on
the motions for summary judgment on November 25, 2019 and took

the matter under advisement. Electronic Clerk’s Notes, ECF

No. 70.

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II. Analysis

Summary judgment is appropriate “if the movant shows that
there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” Fed. R.
Civ. P. 56(a). A dispute regarding a material fact is genuine
“if the evidence is such that a reasonable jury could return a
verdict for the nonmoving party.” Anderson v. Liberty Lobby,
Inc., 477 U.S. 242, 248 (1986). “The party with the burden of
proof must provide evidence sufficient for the court to hold
that no reasonable fact-finder could find other than in its

favor.” South Middlesex Opportunity Council, Inc. v. Town of

 

Framingham, 752 F. Supp. 2d 85, 95 (D. Mass. 2010) (Woodlock,
J.) (quoting Scottsdale Ins. Co. v. Torres, 561 F.3d 74, 77 (1st
Cir. 2009)).

A. Massachusetts Public Accommodation Law (Count I)

In Count I, Brooks alleges that Defendants denied him
access to the bus because of his race, violating the
Massachusetts Public Accommodation Law, codified in chapter 272,
sections 92A and 98 of the Massachusetts General Laws. Compl.
{I 26-31. The Court DENIES Transit Connection’s motion for
summary judgment as to Count I, as it hinges on the genuinely
disputed assertion that the bus was full when it passed Brooks.

Transit Connection operates Vineyard Transit Authority’s

bus, which falls within the scope of “public accommodation” as

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it is “open to and accepts .. . the patronage of the general
public” and is “a carrier, conveyance or elevator for the
transportation of persons.” 1 M.G.L. c. 272, § 92A; Vineyard
Transit Auth. SOF 497 14, 15. Transit Connection maintains that
it did not “make[] any distinction, discrimination or
restriction on account of race” in violation of section 98 when
Brooks was not permitted to ride the bus.* Transit Connection’s
Mem. 5. According to Defendants, the video recording of the bus
interior confirms it was at capacity, which explains why Taylor
did not allow another passenger to board earlier on the route.
Iid.; Vineyard Transit Authority’s Mem. 19.

In support of his discrimination claim, Brooks points to

Taylor’s statement (recorded on video) to Brooks that Taylor did

 

1 Section 92A provides in part: “A place of public

accommodation . . . shall be deemed to include any place
which is open to and accepts or solicits the patronage of the
general public . . .” and lists “a carrier, conveyance or

elevator for the transportation of persons” as examples. M.G.L.
c. 272, § 92A.

2 Section 98 provides in part:

Whoever makes any distinction, discrimination or
restriction on account of race [or] color

relative to the admission of any person to... any
place of public accommodation . . . shall be liable to
any person aggrieved thereby for such damages as are
enumerated in section five of chapter one hundred and
fifty-one ... . This right is recognized and
declared to be a civil right.

M.G.L. c. 272, § 98.
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not stop “because you’re Black.” Compl. {@ 14 (emphasis
deleted). Brooks further asserts that because Transit
Connection and Vineyard Transit Authority are Taylor’s joint
employers, both are liable. Id. @ 20. Vineyard Transit
Authority disputes Taylor’s joint employment. See Pl.’s Opp’n
Transit Connection 9; Pl.’s Opp’n Vineyard 11; Vineyard Transit
Authority’s Mem. 4, 8, 11. As Transit Connection’s motion for
summary judgment depends on the disputed issue of the bus’s
capacity, Transit Connection’s Mem. 2, 5-6, the Court denies its
motion for summary judgment as to Count I.

Vineyard Transit Authority takes another tack, arguing that
section 98’s operative term “[w]hoever” does not encompass
governmental entities. Vineyard Transit Authority’s Mem. 16
(citing Woods Hole, Martha's Vineyard & Nantucket S.S. Authority
v. Town of Falmouth, 74 Mass. App. Ct. 444, 447, 907 N.E.2d 1124
(2009)). Chapter 4, section 7, of the Massachusetts General
Laws provides that “{i]n construing statutes the following words
shall have the meanings herein given, unless a contrary
intention clearly appears: . . . ‘Person’ or ‘whoever’ shall
include corporations, societies, associations and partnerships.”
M.G.L. c. 4, § 7. “As has been many times observed, this
definition does not encompass ‘governmental agencies,
municipalities, or municipal corporations.’” Woods Hole, 74

Mass. App. Ct. at 446 (quoting Commonwealth v. Voight, 28 Mass.

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App. Ct. 769, 771, 556 N.E.2d 115 (1990)). Vineyard Transit
Authority is a governmental entity (“municipal entity”) via its
enabling legislation. M.G.L. c. 161B, § 3; Vineyard Transit
Authority’s Mem. 16. Therefore, it contends that it is not
bound by the anti-discrimination protections of section 98. Id.
This Court disagrees with the notion that section 98 does
not apply to governmental entities. While it may be the
“general rule” that the statutory term “whoever” does not
include a governmental agency or municipality, Town of Boxford

v. Massachusetts Highway Dep’t, 458 Mass. 596, 605, 940 N.E.2d

 

404 (2010), several reasons persuade the Court that section 98
is an exception.

First, the Supreme Judicial Court has instructed that
section 98, “because the statute is an antidiscrimination
statute,” be given “‘a broad, inclusive interpretation’ to
achieve its remedial goal of eliminating and preventing
discrimination.” Currier v. National Bd. of Med. Exam’rs, 462
Mass. 1, 18, 965 N.E.2d 829 (2012) (quoting Local Fin. Co. v.
Massachusetts Comm’n Against Discrimination, 355 Mass. 10, 14,
242 N.E.20 536 (1968)). Letting governmental agencies off the
hook for their agents’ discriminatory actions is inconsistent
with a liberal construction of the statute designed to

“eliminat[e]” discrimination.

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Second, the Massachusetts Commission Against Discrimination
(the “Commission”), which is charged with enforcing the statute,
M.G.L. c. 151B, § 5, has routinely applied section 98 to

governmental entities. See, e.g., Glasman v. Massachusetts DOT,

 

 

No. 07-BPA-03389, 2018 WL 1201338 (MCAD Feb. 12, 2018); Ramesh

v. City of Springfield, No. 07-SPA-00587, 2016 WL 850911, 38

 

M.D.L.R. 20 (MCAD Feb. 18, 2016); Bachner v. Massachusetts Bay

 

 

Transp. Auth., No. 91-BPA-0050, 2000 WL 33665366, 22 M.D.L.R.
183 (MCAD July 10, 2000). The Supreme Judicial Court has
explained that the Commission’s construction warrants
“substantial deference” because the Massachusetts “Legislature
essentially delegated to the commission the authority in the
first instance to interpret [section 98] and determine its
scope.” Currier, 462 Mass. at 18; see also City of Bangor v.

Citizens Comme’ns Co., 532 F.3d 70, 94 (lst Cir. 2008) (“Federal

 

courts generally defer to a state agency’s interpretation of
those statutes it is charged with enforcing... .”).
Moreover, at least one decision of the Massachusetts Appeals
Court, though unpublished and without analysis, held that
section 98 applied to the Massachusetts Bay Transportation
Authority on alleged facts reminiscent of those now before this
Court. See Warren v. Massachusetts Bay Trans. Auth., 93 Mass.
App. Ct. 1110, 103 N.E.3d 1238 (2018) (“The driver's statement

(‘black crackhead bitch’) . . . sufficiently supports the

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plaintiff’s discrimination complaint [under section 98].”); see
also Quarterman v. City of Springfield, 716 F. Supp. 2d 67, 78
(D. Mass. 2009) (Ponsor, J.) (rejecting argument that a city was
immune from section 98 claim).

Third, section 98 refers to another anti-discrimination
statute, chapter 151B, section 5, which in turn refers back to
section 98.3 This intertextual link amounts to, in the words of
the Supreme Judicial Court, “the integration of [sections 92A
and 98] into [chapter] 151B.” Currier, 462 Mass. at 18. If
section 98 is effectively integrated into chapter 151B, then the
operative definition of “person” is found in section 1({1) of
that chapter, which expressly includes “the commonwealth and all
political subdivisions.”4 Because the Vineyard Transit Authority

is a “political subdivision of the commonwealth,” Massachusetts

 

3 Chapter 272, section 98 of the Massachusetts general laws
defines the violator’s liability as “such damages as are
enumerated in section five of chapter one hundred and fifty-one
B.” M.G.L. c. 272, §; id. c. 151B, § 5 (granting the Commission
the authority to enforce violations of “sections ninety-two A,
ninety-eight and ninety-eight A of chapter two hundred and
seventy-two”).

4 It is true that chapter 151B, section 1(1) is defining
“person” rather than “whoever,” but chapter 4, section 7,
Twenty-third makes clear that these terms are analogous. M.G.L.
c. 151B, § 1(1); M.G.L. c. 4, § 7. Moreover, chapter 151B,
section 5 grants the Commission the authority to enforce
violations of section 98 against “any person.” M.G.L. c. 151B,
§ 5. Thus, the Court treats the definition of person in chapter
151B as operative in section 98.

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General Laws chapter 161B, section 3, it is within the reach of
section 98.

Fourth, and finally, the Court observes that section 98, as
amended by St. 1950, chapter 479, section 3, concludes with an
important sentence: “This right is recognized and declared to be
a civil right.” M.G.L. c. 272, § 98. It is preposterous to
construe this “civil right” as enforceable against everyone but
the government itself. Civil rights are, in large part, a
bulwark against government power. True, section 98 undoubtedly
applies to agents of the government; the question here is
whether the government itself is vicariously liable.
Nonetheless, if the Commonwealth is serious in declaring equal
access to public accommodations “a civil right” -- and the Court
must take the Legislature’s declaration seriously -- it would be
incongruous to categorically excuse governmental entities from
the scope of liability for violations of this civil right.

Vineyard Transit Authority next argues that section 98 does
not contemplate vicarious liability. Vineyard Transit
Authority’s Mem. 17. It argues that “[t]he doctrine of

respondeat superior is a common law tort concept and does not

 

apply in the context of the Massachusetts Public Accommodation
Act which is a creature of statute because the statutory
language does not expressly provide for vicarious liability.”

Id. In support of this proposition, Vineyard Transit Authority

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cites Cox v. Boston Red Sox Baseball Club Ltd. P’ship, No.
SUCV2016-01046, 2018 WL 8452510, at *5 (Mass. Super. Ct. Apr.
10, 2018) (Fahey, J.), which in turn cites Jones v. City of
Boston, 738 F. Supp. 604, 606 (D. Mass. 1990) (McNaught, J.)
(holding, in the context of a civil suit alleging discrimination
at a hotel bar, that section 98 is “a criminal statute which
enforces civil rights laws” and therefore the employer was “not
liable for a criminal act of its employee”).

The Court rejects the argument that section 98 does not
embrace vicarious liability. Once again, the Commission has
repeatedly enforced section 98 on a vicarious liability theory.
See, e.g., Sahir v. 2 Belsub Corp., No. 15 BPA 01141, 2018 WL
4002079, at *9 (MCAD Aug. 8, 2018) (“Rather than apply
principles of vicarious liability in such a narrow fashion, the
public accommodations law is to be given a broad and inclusive
interpretation in order to fulfill the policy of preventing
discrimination in the public sphere.”); Apache v. City of

Springfield Police Dep’t, No. 08-SPA-02127, 2012 WL 1153738, at

 

*3, 34 M.D.L.R. 59 (MCAD Apr. 3, 2012); Bachner, 2000 WL
33665366, at *4. This Court ought defer to the Commission’s
construction of the statute that it enforces.

Moreover, the Court cannot agree that the public
accommodation law is divorced from tort principles. In fact, an

earlier version of section 98 expressly described the civil

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action for such violations as “an action of tort.” St. 1895, c.
461, § 1.5 Even after this language was dropped in the
codification process that resulted in a changed statute, the
Supreme Judicial Court maintained that the statute still
provided a “remedy in tort” and the offender as a “tort-feasor.”
Bryant v. Rich’s Grill, 216 Mass. 344, 348-49, 103 N.E. 925
(1914).® Although the statute has been amended many times since
that decision, this Court sees no amendment that materially

alters the statute from the version before the Supreme Judicial

 

> That section read, in part:

Whoever makes any distinction, discrimination or

restriction on account of color or race... in
respect to the admission of any person to or his
treatment in any . . . public conveyance .. . or

other public place kept for hire, gain or reward
shall, for each and every offence, forfeit and pay to
the person aggrieved thereby a sum not less than
twenty-five dollars nor more than three hundred
dollars, to be recovered in an action of tort in any
court of competent jurisdiction in the county where
the said offence shall have been committed, and shall
also be deemed guilty of a misdemeanor

St. 1895, c. 461, § 1.

6 The version of the statute before the Supreme Judicial
Court in Bryant was codified at Massachusetts Rev. Laws 1902,
chapter 212, section 89. As the Supreme Judicial Court
explained, the differences between that codified version and the
1895 statute were merely stylistic: “R. L. c. 212, § 89, while
codifying this statute, transposed the civil and penal clauses,
and omits all reference to the remedy. —The transposition,
however, does not change the legislative intention, and the
remedy in tort may be pursued in any court having jurisdiction.”
Bryant, 216 Mass. at 348.

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Court in Bryant with respect to the application of tort law
principles. Accordingly, the Court rules that section 98
embraces vicarious liability.

Because the remainder of Vineyard Transit Authority’s
argument regarding section 98 turns on the disputed fact whether
the bus was full, the Court DENIES its motion for summary
judgment as to Count I.

B. Massachusetts Equal Rights Act (Count II)

In Count II, Brooks claims that Defendants violated the
Massachusetts Equal Rights Act (the “Equal Rights Act”) when
they allegedly did not allow Brooks to board the bus on account
of his race.? Compl. @ 34. Although Brooks maintains that
Defendants refused to allow him on the bus because of his race,
id., Transit Connection argues that Taylor could not have safely
allowed Brooks to board the bus at full capacity. Transit
Connection’s Mem. 6; Transit Connection’s SOF 99 4-5. Whether
the bus was at capacity remains a genuinely disputed material
fact; therefore, this Court DENIES Transit Connection’s motion

for summary judgment as to count II.

 

7 Specifically, Brooks alleges Defendants “interfered with
Mr. Brooks’ rights to make and enforce contracts under M.G.L. c.
93, § 102 when they refused to allow Mr. Brooks to board the
[Vineyard Transit Authority] bus because of his race.” Compl. {7
34.

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The Vineyard Transit Authority asserts that the Equal
Rights Act does not apply to municipal entities, as the statute
does not expressly include municipal liability.® Vineyard
Transit Authority’s Mem. 13. Vineyard Transit Authority further
argues that even if it were Taylor’s de facto employer, the
Equal Rights Act does not allow for vicarious liability. Id.

To assess this line of reasoning, the Equal Rights Act must be
compared with the Massachusetts Civil Rights Act and analogous
federal statutes.

The Equal Rights Act is analogous to 42 U.S.C. §§ 1981 and
1982, though with more expansive protections. Thurdin v. SEI
Bos., LLC., 452 Mass. 436, 440, 895 N.E.2d 446 (2008). The
state-law analogue to section 1983 is the Massachusetts Civil
Rights Act (“MCRA”). Nolan v. CN8, 656 F.3d 71, 76 (lst Cir.
2011) (citing M.G.L. c. 12, § 11H). Despite the availability of
municipal liability under section 1983, see Monell v. Department
of Soc. Servs. of the City of New York, 436 U.S. 658, 690
(1978), Massachusetts courts have read the Massachusetts Civil
Rights Act’s language covering “any person or persons” to

exclude governmental entities. Howcroft v. City of Peabody, 51

 

8 Although the Supreme Judicial Court has held that “[t]he
statute prohibits private acts of discrimination,” Currier, 462
Mass. at 14, there is no caselaw or language within the statute
to suggest that it does not apply also to public acts of
discrimination.

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Mass. App. Ct. 573, 591-93, 747 N.E.2d 729 (2001). No such
limiting language appears in the Equal Rights Act, however, and
thus the Court declines to exempt governments from the statute’s
scope of liability.?®

It is true that the Equal Rights Act’s federal-law
analogue, section 1981, has been construed to exclude municipal

liability. See Buntin v. City of Boston, 857 F.3d 69, 72-75

 

(lst Cir. 2017) (citing Jett v. Dallas Indep. Sch. Dist., 491

 

U.S. 701, 731-33 (1989)). That, however, is simply because
section 1981 lacks an express cause of action and the Supreme
Court refused to read an implied cause of action into the
statute, holding instead that section 1981 claims against state

actors must be brought via section 1983. Id. This reasoning

 

9 The Equal Rights Act’s cause-of-action provision provides
that the “civil action shall be instituted either in the
superior court for the county in which the conduct complained of
occurred, or in the superior court for the county in which the
person whose conduct complained of resides or has his principal
place of business.” M.G.L. c. 93, § 102(b) (emphasis added).
One might argue that, by referring to the defendant as a
“person,” the Equal Rights Act excludes governmental entities
from liability in the same way that a government is not a
“person” within the meaning of the Massachusetts Civil Rights
Act. See Howcroft, 51 Mass. App. Ct. at 591-93. The Court is
not persuaded by this argument, since the quoted sentence
discusses only the location of the civil action, not its scope
or parameters. It is a stretch to craft a broad governmental
exception from the use of the term “person” in this context.
Cf£. Johnson, infra, at 18 (“The use of ‘person’ in reference to
potential defendants was purposeful and intended to include
individuals, corporate and other business entities, unions,
governments, etc.”) (emphasis added).

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has no bearing upon the Equal Rights Act, which provides an
express cause of action. M.G.L. c. 93, § 102(b). Accordingly,
the Court rules that the Equal Rights Act applies to
governmental entities. Cf. John F. Adkins et al., 45 Mass.

Prac., Employment Law § 12:3, at 837 n.5 (3d ed. 2016) (“{the

 

Equal Rights Act] is probably also applicable to municipalities,
although this issue has not yet been ruled upon.”).

As to the issue of respondeat superior, the First Circuit’s

 

stance that the doctrine applies to section 1981 is instructive.

See Springer v. Seaman, 821 F.2d 871, 881 (lst Cir. 1987),

 

abrogated on different grounds by Jett, 491 U.S. 701; Cerqueira

v. American Airlines, Inc., 520 F.3d 1, 19 (1st Cir. 2008)

 

(declining to address “the scope of any respondeat superior
liability in § 1981 claims generally”); Jones v. Boston, 738 F.
Supp. 604, 606 (D. Mass. 1990); Goodwin v. Fast Food Enterprises
No. 3, LLP, C.A. No. 10-23 Erie, 2012 WL 1739830, at *3 (W.D.
Pa. May 16, 2012) (collecting cases that apply respondeat
superior to section 1981 claims). Given that the Equal Rights
Act was enacted to provide more robust anti-discrimination
protections than section 1981, see generally Stephen P. Johnson,
The 1989 Massachusetts “Equal Rights Law”: A Short History, 34
Boston B.J., March/April 1990, at 17, the Court sees no reason
why the Equal Rights Act would not likewise embrace respondeat

superior liability. The Court therefore rejects the argument

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that the Equal Rights Act does not recognize vicarious
liability. Since it is genuinely disputed whether Taylor was
employed by Vineyard Transit Authority, the Court DENIES
Vineyard Transit Authority’s motion for summary judgment as to
Count II.

Cc. Section 1981 (Count III)

In Count III, Brooks alleges “Defendants interfered with
[his] right to make and enforce contracts under 42 U.S.C. § 1981
when they refused to allow [him] to board the [Vineyard Transit
Authority] bus because of his race.” © Compl. @@ 39. After
careful consideration of the parties’ arguments, this Court
DENIES Transit Connection’s motion for summary judgment because
it depends on genuinely disputed issues of material fact. This
Court GRANTS Vineyard Transit Authority’s motion for summary
judgment because under binding precedent 42 U.S.C. § 1981 does
not provide a cause of action against state actors.

Brooks must establish three elements to state a prima facie
claim under 42 U.S.C. § 1981: “(1) that he is a member of a
racial minority, (2) that the defendant discriminated against

him on the basis of race, and (3) that the discrimination

 

10 Section 1981 provides, in part, that “all persons within
the jurisdiction of the United States shall have the same right

. to make and enforce contracts .. . and to the full and
equal benefit of all laws and proceedings . . . as is enjoyed by
white citizens ... .” 42 U.S.C. § 1981(a).

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implicated one or more of the activities enumerated in the

statute.” Garrett v. Tandy Corp., 295 F.3d 94, 98 (1st Cir.

 

2002). Here, (1) Brooks, as a racial minority, is a member of a
protected class; (2) when asked why he was denied access to the
bus, Taylor ultimately said (as captured on video) “[w]lell, it’s
because you’re black”; (3) which implicates Brooks’ statutory
rights “to make and enforce contracts” and “to the full and
equal benefit of all laws,” 42 U.S.C. § 1981(a).

Transit Connection maintains that the bus was “indisputably
full” and this assertion disposes of Count III. Transit
Connection’s Mem. 2. This fact, however, is genuinely disputed
because Brooks denies that the bus was full. Compl. @1 10, 13-
14. Thus, the Court DENIES Transit Connection’s motion for
summary judgment as to Count IIlf.

Vineyard Transit Authority correctly asserts it is immune
from municipal liability under 42 U.S.C. § 1981. In Jett v.
Dallas Independent School District, the Supreme Court held that
section 1981 does not provide an implied private cause of action
for damages against state actors. 491 U.S. at 733. The First
Circuit recently held that Jett remains good law even after
section 1981 was amended. Buntin, 857 F.3d at 74. As such,
“the express cause of action for damages created by § 1983
constitutes the exclusive federal remedy for violation of the

rights guaranteed in § 1981 by state governmental units.” Jett,

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491 U.S. at 733 (emphasis added). The viability of Brooks’
claim against Vineyard Transit Authority under section 1981 thus
depends on whether it is a private or state actor.}?!

Vineyard Transit Authority’s legislative mandate provides
that

[A]ny city or town . . . may, upon compliance with this

section . . . be made into a body politic and corporate

and a political subdivision of the commonwealth under

the name of the municipality within the new authority
and followed by the words ‘Transit Authority.’

M.G.L. c. 161B, § 3. As the statute states that Vineyard
Transit Authority is a governmental actor, it follows that it
cannot be sued under section 1981 alone. Since Brooks did not
raise a section 1983 claim, see Monell, 436 U.S. at 701, the
Court GRANTS Vineyard Transit Authority’s motion for summary
judgment as to Count III.

D. Negligent Infliction of Emotional Distress (Count Vv)

In Count V, Brooks alleges he suffered severe emotional
distress because Defendants breached their duty to provide

transportation services free from discrimination. Compl. Wf 47-

 

11 Brooks argues that Vineyard Transit Authority is not an
arm of the state that enjoys Eleventh Amendment immunity. Pl.’s
Opp’n Vineyard 6, 8. Vineyard Transit Authority did not raise
this defense, however, and thus it will not be addressed. See
Wisconsin Dep’t of Corr. v. Schacht, 524 U.S. 381, 389 (1998)
(“Unless the State raises the matter [of Eleventh Amendment
immunity], a court can ignore it.”). The question here is not
whether the Eleventh Amendment shields Vineyard Transit
Authority, but whether it is a state or private actor for
purposes of section 1981.

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49. Brooks has pled insufficient facts as matter of law to
demonstrate objective evidence of harm for a claim of negligent
infliction of emotional distress. Therefore, this Court GRANTS
both Transit Connection’s and Vineyard Transit Authority’s
motions for summary judgment as to Count V.??

Brooks must establish five elements to recover for
negligently inflicted emotional distress: (1) negligence; (2)
emotional distress; (3) causation; (4) physical harm manifested
by object symptomatology, i.e., objective corroboration of the
emotional distress alleged; and (5) that a reasonable person
would have suffered emotional distress under the circumstances

of the case. Rodriguez v. Cambridge Hous. Auth., 443 Mass. 697,

 

701, 823 N.E.2d 1249, 1253 (2005).

Both Transit Connection and Vineyard Transit Authority
emphasize that a claim of negligent infliction of emotional
distress requires “objective evidence of .. . emotional
distress, as manifested by physical symptoms.” Transit
Connection’s Mem. 2, 8; Vineyard Transit Authority’s Mem. 6; See
Rodriguez, 443 Mass. at 703. Brooks has not pled adequate
symptomology to demonstrate his response was greater than “mere

upset, dismay, humiliation, grief and anger.” Id. at 702

 

12 Count IV (intentional infliction of emotional distress)
is alleged solely against Taylor, Compl. {1 42-45, who has not
moved for summary judgment.

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(quoting Sullivan v. Boston Gas Co., 414 Mass. 129, 137, 605
N.E.2d 805 (1993)).

Brooks argues he “felt utter shock and disbelief” when the
bus passed him and was “overwhelmed by sadness and humiliation,”
and cried after speaking to Taylor. Pl.’s Opp’n Transit
Connection 13; Pl.’s Opp’n Vineyard 17. “Tears merely
demonstrate upset, anger, or grief, and these feelings alone do
not constitute sufficient physical manifestation.” Gutierrez v.

Massachusetts Bay Transp. Auth., 437 Mass. 396, 413, 772 N.E.2d

 

552 (2002). Additionally, Brooks alleges he “has suffered from
a loss of sleep due to the incident” and “replayed this incident
in his mind over and over again” which has “exacerbated
preexisting emotional distress caused by [previous]
discrimination.” Compl. 4 18-19. The only alleged physical
symptom here is loss of sleep. Although “sleeplessness” may be
one of several objective manifestations of emotional distress,
Rodriguez, 443 Mass. at 702, loss of sleep on its own is
insufficient to support a claim of negligent infliction of
emotional distress (except, perhaps, in extreme cases of
debilitating insomnia, which Brooks did not plead here).

E. Chapter 93A (Count VI)

In Count VI, Brooks alleges that Transit Connection and

Vineyard Transit Authority violated the Massachusetts Consumer

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Protection Act (“chapter 93A”).43 Compl. G1 50-55. Brooks
asserts both entities “were engaged in trade or commerce” and
their alleged refusal to allow him on the bus because of his
race amounts to “unfair and deceptive practices.” Id. 47 51-52.
Brooks argues that by denying him access to the bus, both
entities “committed actions that were oppressive, unethical,
and/or unscrupulous under 940 CMR 3.16.” Id. @ 53. As Transit
Connection’s motion for summary judgment relies on genuinely
disputed facts, this Court DENIES its motion for summary
judgment on count VI. As Vineyard Transit Authority was not
engaged in trade or commerce, this Court GRANTS its motion for
summary judgment on count VI.

Brooks asserts that Transit Connection’s actions were
“unfair and deceptive” because he was denied access due to his
race. Pl.’s Opp’n Transit Connection 17. Within the meaning of
chapter 93A, “[c]onduct is unfair or deceptive if it is ‘within
at least the penumbra of some common-law, statutory, or other
established concept of unfairness’ or ‘immoral, unethical,
oppressive, or unscrupulous.” Cummings v. HPG Int’1, Inc., 244
F.3d 16, 25 (Ist Cir. 2001) (quoting PMP Assoc., Inc. v. Globe

Newspaper Co., 366 Mass. 593, 596, 321 N.E.2d 915, 917 (1975)).

 

13 Chapter 93A provides that “[u]nfair methods of
competition and unfair or deceptive acts or practices in the
conduct of any trade or commerce are hereby declared unlawful.”
M.G.L. c. 93A, § 2(a).

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“[R]acial harassment in the course of doing business is conduct
fairly described as immoral, unethical, or oppressive for the

purposes of [chapter] 93A.” Ellis v. Safety Ins. Co., 41 Mass.

 

App. Ct. 630, 640, 672 N.E.2d 979, 986 (1996). Brooks alleges
that Transit Connection was in the course of conducting business
on its bus route when he suffered racial discrimination from
Taylor. Compl. @%@ 51-54. As the questions whether the bus did
not stop for Brooks because of his race and what loss, if any,
Brooks suffered as a result are genuinely disputed, this Court
DENIES Transit Connection’s motion for summary judgment as to
Count VI.

As a governmental entity, Vineyard Transit Authority is not
expressly made subject to suit under chapter 93A. Even if
Vineyard Transit Authority is a “person” for purposes of chapter
93A, contra Archambeault v. Worcester Reg’l Transit Auth., No.
03002417B, 2007 WL 1630936, at *5-6 (Mass. Super. Ct. May 30,
2007) (Murphy, J.), the statute’s protections reach only those
entities engaged in trade or commerce. Chapter 93A liability
does not apply to municipal entities that are acting in
accordance with their legislative mandate. Peabody N.E., Inc.

v. Town of Marshfield, 426 Mass. 436, 440, 689 N.E.2d 774

 

(1998). “A municipality is subject to liability under 93A where
it is ‘acting in a business context’, which is determined by

consideration of ‘the nature of the transaction, the character

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of the parties involved and [their] activities . . . and whether
the transaction was motivated by business reasons.’” City of

Revere v. Boston/Logan Airport Assocs., LLC., 443 F. Supp. 2d

 

121, 128 (D. Mass. 2006) (Gorton, J.) (alteration and omission

in original) (quoting Park Drive Towing, Inc. v. City of Revere,

 

442 Mass. 80, 86, 809 N.E.2d 1045 (2004)). “A party is not
engaging in ‘trade or commerce’ as defined by [chapter] 93A when
its actions are motivated by legislative mandate.” Max-Planck-

Gesellschaft Zur Foerderung Der Wissenschaften E.V. v. Whitehead

 

Inst. for Biomedical Research, 850 F. Supp. 2d 317, 328 (D.

 

Mass. 2011) (Saris, J.) (citing Park Drive Towing, Inc., 442
Mass. at 86). Here, Vineyard Transit Authority plainly operates
its buses as a public service pursuant to legislative mandate,
not for business reasons. Accordingly, Brooks’ claim against it
under chapter 93A cannot stand.
III. Conclusion

For the reasons given above, the Court concludes that
governmental entities such as the Martha’s Vineyard Transit
Authority are not outside the reach of the Commonwealth’s anti-
discrimination laws. The Court therefore DENIES Vineyard
Transit Authority’s motion for summary judgment as to Counts I
and II, but GRANTS the motion as to Counts III, V, and VI. The
Court further DENIES Transit Connection’s motion for summary

judgment as to Counts I, II, III and VI because Material facts

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are in dispute, yet GRANTS the motion as to Count V because
Brooks’ alleged symptoms are insufficient as matter of law to
establish a claim for negligent infliction of emotional

distress.

SO ORDERED.

 
   
 

WILLIAM G.YY¥.
DISTRICT JUDGE

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